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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION
                             CIVIL CASE NO. 1:24-cv-22523-MOORE/Elfenbein


   KENNY ORTEGA

            Plaintiff,

   v.

   MIAMI-DADE COUNTY, a political
   subdivision in the State of Florida, and
   JOSEPH DIAZ in his individual capacity,

         Defendants.
   _____________________________________/



                                    PLAINTIFF’S MOTION TO LIFT STAY


   COMES NOW Plaintiff, KENNY ORTEGA (“Plaintiff” or “Mr. Ortega”), by and through his
   undersigned counsel, and files this Motion To Lift Stay pursuant to the Court’s Order [ECF 24]. 1
   In support:
                                               I.        INTRODUCTION
        This case is in its second stay upon Defendant’s opposed motions, requesting this Court await
   the closure/outcome of the criminal case of Defendant Officer Diaz before allowing the instant
   civil rights/1983 case to proceed, wherein Diaz was arrested for battery and falsification of a police
   report in his arrest of Plaintiff Mr. Ortega three years ago in 2022; all charges against Plaintiff
   were dropped; the outcome of Defendant Diaz’ criminal trial will not and cannot in any way moot
   nor dismiss any of Plaintiff’s claims in the instant civil rights case; Diaz has continued his criminal
   trial over seven times, including at least twice during the pendency of the current stays; Defendant
   County filed its motion regarding its employee Defendant Officer Diaz based on a pre-mature and
   non-existent blanket discovery dispute despite no discovery having yet been served, and based that
   dispute that it could not access the State Attorney’s documents for its arrest of Diaz although Diaz’

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     This motion is filed pursuant to this Court’s Order February 19, 2025, for Plaintiff to file a separate Motion To Lift
   Stay after Plaintiff filed the ordered status update report. Plaintiff requested lifting of the stay in the section for re-
   lief requested. Defendant in its Status Report requested the relief of the stay remaining in place.
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   arrest is not a claim in this case and Defendants do have access to all documents of Diaz’ arrest of
   Plaintiff at issue in this case because Diaz is their employee; there is no known time of how long
   and how many times Diaz will continue to continue his criminal trial, as his counsel has asserted
   to this Court in two prior status reports that the trial will occur by a certain date only for Diaz to
   again continue the trial after a stay is granted in this case; and, despite Defendant’s contention of
   important case information not being available nor releasable during its now over three year in-
   vestigation, Defendants have already released to the public the unredacted BWC of Diaz’ arrest of
   Plaintiff, the police report of Diaz’ arrest of Plaintiff, a public news announcement of the charges
   against Officer Diaz, Diaz’ name and likeness, and supplied document(s) in response to Plaintiff’s
   public records request. Respectfully to this Court, Plaintiff opposes another stay


                    II.     RELEVANT PROCEDURAL BACKGROUND
      1. On December 9, 2024, this Court entered a temporary stay of the instant case until February
          7, 2025. That stay was the second stay entered in this case on Defendant’s opposed motions
          to stay this case. [ECF 20].
      2. On August 5, 2024, Defendant filed its first opposed Motion To Stay Case Pending Con-
          clusion of Criminal Proceedings. Defendant also requested therein that the instant civil
          rights case be administratively closed. [ECF 11].
      3. Defendant County claimed it would not be able to access or serve requested documents
          from the Miami-Dade County State Attorney’s file in its arrest of Defendant Officer Diaz,
          charged in 2022 by the Maimi-Dade County State Attorney’s Office (MDCSAO), for his
          actions in his arrest of Plaintiff Mr. Ortega. Defendant County also argued that Defendant
          Diaz’ criminal trial was scheduled to occur on October 28, 2024, and that the Court should
          await the outcome.
      4. The MDCSAO has already set its case for trial multiple times, but Defendant Diaz has
          continued it as shown herein and in Plaintiff’s prior opposition.
      5. At the time of Defendant’s motion, no discovery requests had been propounded or served
          by Plaintiff.
      6. On August 19, 2024, Plaintiff filed his opposition to Defendant’s motion. Within that Op-
          position, Plaintiff exhibited the criminal trial docket from Diaz’ public criminal case show-
          ing Diaz had continued that case already at least six times on Defense continuances, and
          that Plaintiff had not yet served any discovery for Defendant’s blanket discovery objection

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        to be ripe. [ECF 14].
     7. On August 23, 2024, Defendant County filed its Reply to Plaintiff’s opposition. [ECF 15].
     8. On September 30, 2024, this Court entered an Order granting Defendant’s motion for
        stay and administratively closed this case. The Court stayed the instant case until Novem-
        ber 14, 2024, and the parties were to file a Joint Status update on or before that date to also
        inform the court if any of Plaintiff’s claims had been dismissed as “moot.” [ECF 17].
     9. On November 14, 2024, the parties filed their Joint Status Report. The parties informed
        the Court that Diaz’ scheduled October 28, 2024, trial had not occurred due to Defendant
        Diaz’ continuance, and that Diaz had scheduled a plea deal date to enter a plea deal in that
        criminal case in November 2024. Defendant County again moved within the Joint Status
        Update in the instant filing for a second stay. Plaintiff Ortega opposed a second stay, and
        renewed and incorporated his prior opposition. [ECF 18].
     10. On November 18, 2024, Plaintiff also filed a NOTICE Of Outcome of Defendant Officer
        Diaz' Plea Hearing Held Today, November 11, 2024 : No Plea Entered or Accepted by
        Defendant Diaz (Plaintiff's Counsel attended in person) into this case. Plaintiff informed
        this Court that Defendant Diaz not only failed to enter any plea deal, but again continued
        his criminal trial. [ECF 19].
     11. On December 9, 2024, this Court entered an Order granting Defendant’s second stay until
        February 7, 2025. The Court again stated to inform it if any of Plaintiff’s claims are “dis-
        missed as moot;” that Plaintiff could only “speculate” on what documents are being with-
        held by the MDCSAO; and that Plaintiff provided some “articles” of public information
        already released by the MDCSAO and Defendant Miami-Dade County in the instant case.
     12. As shown in the update below, Defendant Diaz has now continued even that trial that he
        continued after his October 28, 2024, trial date; and after his November 18, 2024, plea deal
        date, from the scheduled February trial date to now a trial date in April 2025.
     13. Plaintiff has repeatedly in all opposition and status reports argued that Defendant Diaz is
        stalling by repeatedly continuing his criminal case, and that the Court cannot rely on any
        dates provided by Defendants Diaz or County to continue staying this case because Diaz
        continues to continue his criminal case, including after this Court grants stays, as shown
        below.
     14. Plaintiff continues to be prejudiced in not being able to move forward nor prosecute the
        instant case wherein he was damaged. We are now at Defendant’s third request for a stay,

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           wherein the only reason they keep seeking the stay is that Defendant Diaz keeps continuing
           his criminal trial – now for three years wherein he was arraigned in January 2022.
       15. Plaintiff has already informed this Court of how Defendant lulled Plaintiff into waiting to
           file this case based on Defendants putting forth that they wanted to settle the case, and
           while Plaintiff operated and followed up in good faith, Defendants then never once made
           an offer.
       16. Plaintiff argues that continuing the stays are immoderate, and constructively indefinite
           since the Court cannot reasonably rely on any date provided by Defendant and substan-
           tively prejudice Plaintiff’s due process rights to prosecute his case in a manner that in way
           serves the public interests but only those interests of Defendants.
       17. Defendant Diaz has now continued his criminal trial again, including at least twice since
           this Court granted his first motion to stay the instant case. Defendant Diaz continued his
           previously continued trial to October 28, 2024, then continued that trial to November 18,
           2024, plea deal date which he failed to enter any plea deal, then continued the trial to Feb-
           ruary 18, 2025, and now has continued that trial to April 14, 2025. All continuances are by
           Defense motion for continuance. His latest continuance was filed January 22, 2025. [EX-
           HIBIT A].
       18. Plaintiff has also now finally been able to coordinate service of the instant Complaint and
           Summons on Defendant Diaz through Opposing Counsel and Defense Counsel after in-
           forming them that Plaintiff would file a Motion To Compel release of Diaz’ address for
           service since all of Plaintiff’s efforts to serve him via the police department liaison had
           failed, which is the usual method for serving police so that no personal address has to be
           released. Plaintiff has filed Return of Service for Diaz into the instant case. [ECF 23].


                                       MEMORANDUM OF LAW
           Plaintiff, Mr. Kenny Ortega, re-alleges and incorporates herein the above paragraphs 1- 18
   as if plead herein.
                         A. THE STAY IS INDEFINITE AND IMMODERATE.
           Under well-settled case law, as cited by this Court in its December 9, 2024, paperless orders
   granting Defendants first and second requests to stay this case, District Courts have discretion to
   place cases in stay status, but that the length of the requested stay will not be indefinite or immod-
   erate. Four Seasons Hotels & Resorts, B.V. v. Consorcio Barr S.A., 377 F.3d 1164, 1172 n.7 (11th

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   Cir. 2004) (quoting Clinton v. Jones, 520 U.S. 681, 706 (1997)). The Court also ordered that the
   parties inform this Court if any of Plaintiff’s claims had been “dismissed as moot.’ [ECF 17; ECF
   20].
          Here in the instant case, as evidenced herein and in Plaintiff’s prior opposition to Defend-
   ant’s original motion to stay this case [ECF 14], the one thing we know for sure is that this Court
   does not know when Diaz will finally stop continuing his criminal cases for his arrest occurring
   three years ago in 2022, so to continue staying the instant case serves no public good or interest
   where an Officer seems to believes he has an ally in the Court to the point that he can preclude the
   citizenry from prosecuting their claims against him for violations of their civil rights committed
   by the Officer work in the county’s police department. Based on the update provided [SEE EX-
   HIBIT A], we are now on at least seven continuances of Diaz’ 2022 criminal case by Diaz/on his
   defense continuances alone. Although the Court stated in its paperless order that Plaintiff was
   “speculating” on what documents the MDCSAO is “withholding” (in its criminal investigation of
   Diaz already charged in 2022 and brought to trial), respectfully, this is not Plaintiff’s counsel’s
   first civil rights/1983 case, and we are well aware of the documents we need to prosecute this case,
   as well as what has already been released to the public and cannot now be withheld, as shown to
   this Court in Plaintiff’s prior opposition. To wit, Plaintiff’s same undersigned counsel just prose-
   cuted a non-lethal civil rights/1983 false arrest and excessive force case to verdict one month ago,
   and won a unanimous jury verdict of $2,000,000.00 (two million dollars).
          In Plaintiff’s first Opposition to Defendant’s first motion to stay the instant case [ECF 14],
   Plaintiff listed the Defense continuances by date for this Court’s convenience, along with the ex-
   hibit of Diaz’ criminal docket. [Id. at Pages 1 -2, and Exhibit A/Attachment 1 of ECF 14]:
          Charged by the SAO over two years ago in 2022 and having entered his plea of not guilty
          and demand for jury trial way back in January 2022 (Id. at 5 - 6) with the first trial date
          being set for May 9, 2022 (Id. at 17), Diaz has continued his trial on Defense motion alone
          from May 9, 2022, to July 18, 2022 (Id. at 30 – 31), to October 31, 2022 (Id. at 40 – 41),
          to January 23, 2023 (Id. at 59 – 60). Diaz has also filed Defense continuances re-schedul-
          ing the most recent trial dates from October 2, 2023, to February 20, 2024 (Id. at 95 - 96),
          and July 18, 2024, to the currently scheduled trial date of October 28, 2024 (Id. at 135 –
          139). And all those dates do not include the separate dates in between where the Prosecu-
          tion stipulated to the continuances designated as “STIP” and the court re-scheduled to
          March 18, 2024 (Id. at 102), It is not yet known if Defendant Diaz will once again file

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          motion to continue the current scheduled trial date, while asking this Court to stay the
          instant §1983 case based on him having an open criminal case.
          Then, the evidence clearly shows Diaz continued to continue his criminal trial even after
   being granted multiple stays in the instant case. On August 5, 2024, Defendant filed its first motion
   to stay and administratively close this case. Defendant stated Diaz was scheduled for trial in his
   criminal case for October 28, 2024. [ECF 11]. After Plaintiff filed opposition [ECF 14], this Court
   granted Defendant’s stay on September 30, 2024. [ECF 17]. Subsequently, on October 17, 2024,
   Diaz continued his criminal trial scheduled for October 28, 2024. [SEE EXHBIT A at 148]. Then,
   Defendant moved for a second stay in the instant case within the relief requested section of the
   joint status report on November 14, 2024. The update was that Diaz had a plea deal date scheduled
   for November 18, 2024. Plaintiff opposed the granting of a second stay within that joint status
   report. [ECF 18]. Subsequently, on November 18, 2024, Diaz did not enter any plea deal. On that
   same day, Plaintiff filed his notice to this Court that Defendant did not enter a plea deal at the
   public court date on November 18, 2024, but instead continued his trial again. [ECF 19]. The
   continued trial date was set for February 18, 2025. [EXHIBIT A at 152]. Then, on December 9,
   2024, this Court granted Defendant’s second stay. [ECF 20]. Subsequently, on January 21, 2025,
   Diaz continued his criminal trial again from February 18, 2025. [EXHIBIT A at 159, 162]. His
   new trial date is now scheduled for April 14, 2025. [Id. at 165]. Yet, Defendants are again/now
   seeking a third stay within their latest status report. [ECF 21]. Diaz’ actions against Mr. Ortega
   were five years ago in 2020. Diaz was arrested three years ago in January 2022. [EXHIBIT A. at
   3]. It is now February 2025.
          Defendant’s repeated continuances of his criminal case only to then continue those contin-
   uances with no end or certain date in sight as to when he will go through with the jury trial he
   demanded, has unequivocally caused the length of stay in the instant civil case to become and be
   both indefinite and immoderate, in contravention to Four Seasons. Id. This case is now moving
   into its third stay, with no ordered end date or time frame in which the stay will end. In fact, by the
   time of Diaz’ next scheduled trial date in April 2025 based on his most recent continuance last
   month, the instant civil case would have been filed and stayed for almost a year. How long does
   Diaz get to infringe Mr. Ortega’s rights again? Is it not enough that Diaz committed the acts against
   Mr. Ortega giving rise to this case five years ago in 2020, and Defendants pre-textually lulled Mr.
   Ortega into waiting to file this case under the guise of pursuing settlement only to never make one
   settlement offer? Do Defendants now get to continue their delaying and preclusion of Mr. Ortega’s

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   rights to even prosecute his claims against Defendants pursuant to, inter alia, 42 U.S.C. §1983,
   Monell, the Fourth Amendment, and Florida law? There is no public interest in allowing the police
   department and officers to evade and unreasonably – and here indefinitely - delay the rights of the
   citizenry to prosecute claims against on-duty police acting under color of law.
           The stay has become indefinite and immoderate Four Seasons Hotels & Resorts, B.V. v.
   Consorcio Barr S.A., 377 F.3d 1164, 1172 n.7 (11th Cir. 2004) (quoting Clinton v. Jones, 520 U.S.
   681, 706 (1997)). Defendants know this Court has no jurisdiction to make Diaz proceed with his
   criminal trial or comply with his criminal trial dates which Defendants keep giving to this court,
   only to blatantly continue the trial after this Court grants the requested stay. However, this Court
   does have the jurisdiction to move this case along regardless of how many times Diaz keeps con-
   tinuing his criminal trial. After all, the outcome of Diaz’ criminal trial does not dismiss nor moot
   any of Plaintiff’s claims herein because Diaz’ actions are analyzed based on the events at the time
   of his acts against Ortega To determine whether an officer had probable cause for an arrest, we
   examine the events leading up to the arrest…; whether an officer had probable cause depends on
   the events leading up to the arrest…. Lee v. Ferraro, 284, F.3d 1188, 1195 (11th Cir. 2002). Fur-
   ther, the standard in this civil case is preponderance of the evidence, not the higher burden of
   beyond a reasonable doubt in Diaz’ criminal case. Plaintiff will not be dismissing his claims based
   on any outcome of Diaz’ criminal trial. Plaintiff opposes another stay and humbly asks that if this
   Court grants another stay, it gives a date certain of moving this case forward regardless of Diaz
   continuing to forever continue his criminal trial.
           Therefore, this stay in the instant case has become indefinite and immoderate, and Plaintiff
   asks this Court to lift/not extend this stay. In the alternative, if this Court will grant a new stay/ex-
   tend for the third time the current stay, Plaintiff asks the Court to include a certain end date within
   its Order that this case will move forward within the next two months no later than May 15, 2025.
   That even includes time for Diaz to have completed his most recent continued trial date scheduled
   to occur in April 2025, if he has any good faith intent of ever sitting for the trial he demanded.


          B. DEFENDANTS’ ASSERTED BLANKET NON-SPECIFIC DISCOVERY DIS-
            PUTE IS NONEXISTANT AND CONTRAVENES FEDERAL RULES OF CIVIL
                             PROCEDURE TO GRANT/EXTENDING A STAY
           Under the well-settled F.R.C.P. 26 and 34, blanket categorical and premature discovery
   objections are not allowed.      A party cannot simply have discovery stayed or preclude a case

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   moving forward based on Defendant’s speculation of what documents may be requested or ac-
   cessed, especially where no discovery requests have yet even been served, and Defendants them-
   selves have already released investigation and case-sensitive police report and BWC of the entire
   arrest – not just a clip – to the public when publicly announcing on the news its charges against
   Defendant Officer Diaz in his arrest of Plaintiff Mr. Ortega, and dropped all the charges against
   Mr. Ortega.
          Under F.R.C.P. 26(b)(1), as amended,
                  Unless otherwise limited by court order, the scope of discovery is as follows: Par-
                  ties may obtain discovery regarding any nonprivileged matter that is relevant to
                  any party’s claim or defense and proportional to the needs of the case, considering
                  the importance of the issues at stake in the action, the amount in controversy, the
                  parties’ relative access to relevant information, the parties’ resources, the im-
                  portance of the discovery in resolving the issues, and whether the burden or expense
                  of the proposed discovery outweighs its likely benefit. Information within this
                  scope of discovery need not be admissible in evidence to be discoverable.
          Under F.R.C.P. 34(b)(2),
                  an objecting party (B) Responding to Each Item. For each item or category, the
                  response must either state that inspection and related activities will be permitted as
                  requested or state with specificity the grounds for objecting to the request, including
                  the reasons. The responding party may state that it will produce copies of docu-
                  ments or of electronically stored information instead of permitting inspection. The
                  production must then be completed no later than the time for inspection specified
                  in the request or another reasonable time specified in the response. (C) Objections.
                  An objection must state whether any responsive materials are being withheld
                  on the basis of that objection. An objection to part of a request must specify
                  the part and permit inspection of the rest. (emphasis added).
          Here, Defendants predicated their motions on an impermissible pre-emptive and specula-
   tive categorical blanket discovery objection to producing documents wherein not yet one document
   or even the title of even one document, or discovery request at all, had been served or was before
   Defendants or this Court. Case in point is that Defendants did not list one document or even the
   name of one document in its motion that would be requested. Defendants did not list one document
   that they could not produce. Defendants have not cited any specific objections to any supposed

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   documents. Defendants are impermissibly speculating. That remained true at the time of the grant-
   ing/extending of both stays. This Court closed the instant case administratively after granting De-
   fendant stay, ordering periodic status updates/reports, to include the relief requested by each party
   within the report.
           Instead, Defendants also kept citing to Florida state law which allows a Court to grant a
   stay while an internal investigation is marked open; but does not requires a court to do so. How-
   ever, here Defendant’s internal investigation has been marked open since at least the 2022 arrest
   of Diaz. That is three years. If adding the time since Diaz’ arrest of Plaintiff Mr. Ortega back in
   2020, that is five years. No matter how you slice it, the delay in closing the investigation belongs
   solely to Diaz, because Defendants are awaiting the outcome of his criminal trial for closure of
   their investigation. Defendants predicated their illusionary and non-existent discovery dispute that
   “no documents or investigation information from MDPD or SAO is released to anyone – including
   parties -- until the investigations are closed. [ECF 11 at Pg 1, ¶¶ 1 - 2]. However, as plead in
   Plaintiff’s Complaint [ECF 1], all charges against Plaintiff have been dropped, Defendants have
   already publicly released online and in public news broadcasts many of the critical documents and
   the unredacted body-worn camera (“BWC”) of Diaz’ arrest at issue of Mr. Ortega. Plaintiff has
   already evidenced to this Court his prior opposition that Defendant and/or the MDCSAO have
   already publicly released multiple case specific and unredacted BWC of Diaz’ entire arrest of Mr.
   Ortega, the police report, Diaz’ name and likeness, and announced its charges against him. Plaintiff
   only provided a clickable link to only some of the multiple sources of that BWC, police report,
   and other case/internal investigation information still available online today 2
           It is also a very unreasonable assertion at the least, by Defendants to want this Court and
   Plaintiff to believe they can’t access their own documents completed by its on-duty law enforce-
   ment officer employee Diaz in Diaz’ arrest of Mr. Ortega at issue in this case, and never release
   case documents or critical case information until whatever arbitrary and uncertain future date they
   will decide to mark their internal investigations are closed. That is irrefutably untrue. Defendants
   release what they want of critical case information despite active internal investigations, when they
   want, regarding whomever they want. A recent example to that point beyond Mr. Ortega is this
   same Defendant County just voluntarily sua sponte released to the public over 105 minutes of

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     Miami-Dade State Attorney announces charges against 3 police officers after FDLE investigations”
   https://www.local10.com/news/local/2022/01/12/3-former-police-officers-face-charges-in-3-cases-after-fdleinvesti-
   gation/; Opa-locka police captain who shot fellow cop with Taser among 3 officers facing charges” https://www.mi-
   amiherald.com/news/local/crime/article257226397.html.

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   BWC of its detention and/or arrest of famous NFL player Tyreek Hill. Defendant County informed
   the public that it would keep the public updated throughout its investigation, "in our commitment
   to transparency and maintaining public trust," even informing the public that “One officer, iden-
   tified by police officials Tuesday as Danny Torres, a 27-year veteran of the force, has already been
   placed on administrative duty. "The department is committed to conducting a thorough, objective
   investigation into this matter, and we will continue to update the public on the outcome of that
   process.” 3
           Defendants cannot now just arbitrarily decide not to release documents when it comes to
   Mr. Ortega, nor preclude moving this case forward based on its speculation. For instance, the
   department’s use of force policy is a document which would be requested in this case. It is not
   specific to Diaz’ investigation but instead is a department wide policy. There is no valid objection
   Defendants could have lodged. In another example, Defendants have already released the police
   report to the public. How could they have objected? In yet another example, Defendants have
   already released the unredacted BWC to the public? How could they have objected? Defendant’s
   charges against Mr. Ortega are already dropped in 2020. That record is already released. How
   could they permissibly have objected? Any 911 calls and dispatch are public record. They’ve
   already released BWC with audio. How could they have objected with good faith and sound legal
   or factual basis? How could they have permissibly objected to release of Diaz’ personnel file;
   prior citizen complaints; booking and/or jail records regarding Mr. Ortega? There is not instance
   named herein for which Defendants could have lodged permissible lawful objections. This is a
   false arrest/false imprisonment, assault, battery, and Monell claim case. There are no weapons, or
   shooting where ballistics are pending, DNA is awaiting, and even deposition can proceed, espe-
   cially here where Diaz continues to delay his criminal trial and is the sole cause of delaying both
   the instant case and his criminal case.
           In fact, Courts have even denied protective orders concerning discovery due to the games-
   manship of a party seeking to avoid discovery, including depositions. Appellants’ “ongoing
   gamesmanship and disregard of the [c]ourt’s orders demonstrate[d] that the violation here [was]
   willful and . . . deserving of sanctions.” Stansell v. López Bello, No. 22-13454 (11th Cir. Feb. 17,

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     Bodycam footage shows Miami-Dade Police forcibly handling Dolphins star Tyreek Hill. (September 9, 2024. Na-
   tional Public Radio news article, https://www.npr.org/2024/09/09/nx-s1-5106872/tyreek-hill-police-bodycam-vid-
   eos-miami-dolphins; Miami-Dade cops release body-cam footage after Tyreek Hill cuffed before game. Take a look.
   (September 11, 2024, Updated December 19, 2024. Miami-Herald. https://www.miamiherald.com/news/local/com-
   munity/miami-dade/article292207400.html; Miami-Dade cops release body-cam footage after Tyreek Hill cuffed
   before game. Take a look. (September 11, 2024, Updated December 19, 2024. Miami-Herald. https://www.miami-
   herald.com/news/local/community/miami-dade/article292207400.html
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   2023). In Stansell the Court lacked the ability to make Lopez comply with all its orders due to
   lack of jurisdiction in some matters, just as here where this Court has no jurisdiction to compel
   Diaz to finally sit for the trial he demanded. Yet, that Court instead exercised the jurisdiction it
   did have in its own case to move that case forward where Lopez kept playing games delaying
   discovery, such as missing deposition, and entered default against Lopez. Default judgment pur-
   suant to Rule 37 “is appropriate only as a last resort, when less drastic sanctions would not ensure
   compliance with the court’s orders.” Malautea v. Suzuki Motor Co., 987 F.2d 1536, 1542 (11th
   Cir. 1993). Valid particular and specific objections are required. Defendants failed that burden.
   Further, as shown in the above examples of discovery which would have been requested, it is
   irrefutable that Defendants would have been able and required to meet those discovery requests.
   Under Rule 34(b)(2)(C), “if a request for production is objectionable only in part, production
   should be afforded with respect to the unobjectionable portions.” Fed. R. Civ. P. 34(b)(2)(C), Ad-
   visory Committee’s Note to 1993 Amendment. See also McLeod, Alexander, Powell & Apffel,
   P.C. v. Quarles, 894 F.2d 1482, 1485 (5th Cir. 1990) (“[E]ven if some of the law firm’s requests
   for production were irrelevant, Quarles must have a valid objection to each one in order to escape
   the production requirement;” Jay E. Granig & Jeffrey S. Kinsler, Handbook of Fed. Civ. Discovery
   and Disclosure § 9:3 (4th ed. & July 2024 update) (“If a request for production is objectionable
   only in part, production should be afforded with respect to the unobjectionable portions;” Eleventh
   Circuit citing to the aforestated F.R.C.P. and case law in Stansell v. López Bello, No. 22-13454
   (11th Cir. Feb. 17, 2023).
          The Eleventh Circuit affirmed the District Court’s entry of default judgment in the midst
   of Lopez’ ongoing discovery gamesmanship in Stansell.        Defendants are playing that same type
   of gamesmanship here; just as Lopez used her status as fugitive which was beyond the District
   Court’s jurisdiction to control as a ubiquitous impediment to moving the case forward and com-
   plying with discovery, so here are Defendants using the fact that the date of and the actual com-
   pletion of Diaz’ criminal trial is beyond the jurisdiction of this District Court to compel. Yet, just
   as that with that District Court recognizing that ongoing gamesmanship and moving forward the
   civil case, so here can this District Court. We’re not talking about two or three continuances by
   Diaz, we’re talking at least seven continuances on defense continuances alone and counting, for
   the last three years, and trying to preclude moving this case forward until whenever that trial occurs
   based on impermissible and non-existent alleged and pretextual discovery dispute by Defendants.
       C. NONE OF PLAINTIFF’S CLAIMS WILL BE DISMISSED OR MOOTED BASED

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                           ON THE OUTCOME OF DIAZ’ CRIMINAL TRIAL.
      Under well-settled case law, the outcome of Diaz’ separate criminal case has no bearing on
   any of Plaintiff’s claims being “dismissed as moot,” and Plaintiff will not be dismissing any of his
   claims as moot based on the outcome of Diaz’ criminal trial. The instant civil rights case for false
   arrest turns on whether Diaz had probable cause to arrest Plaintiff at the time of arresting him, and
   whether his use of force was justified despite even if the arrest would be valid. Even a subsequent
   exoneration of Diaz criminally will not moot, dismiss, nor cause summary judgment to be granted
   on any of Plaintiff Ortega’s claims. While Plaintiff has the right to amend his Complaint to add
   more claims, he will not be dismissing as moot any claims and has he legal right to proceed on his
   claims against Defendants.
      Here, this case is plead under §1983 for Diaz’ arrest of Ortega, and the charges were dropped
   and that case closed for over four years. Defendant’s conflating of Diaz’ criminal case as some-
   how determining the outcome of the instant civil rights case is misguided. The burden of proof in
   this case is a lesser preponderance of the evidence. Regardless of the outcome of Diaz’ criminal
   case which carries the higher burden of proof of beyond a reasonable doubt, none of Plaintiff’s
   claims in the instant case are dismissed nor mooted. Defendant’s own departmental investigation
   and the MDSAP criminal investigation of Diaz do not stop this civil case from moving forward,
   and further allowing Defendants to determine when Plaintiff in this case can prosecute his case by
   their ongoing gamesmanship from lulling Mr. Ortega into waiting to file suit under the guise of
   pursuing settlement but never making one offer, to repeatedly requesting stays in this case while
   Diaz subsequently then continues his trial again, serve no public interest and instead penalize Mr.
   Ortega by placing him at the whim of Diaz and the County for their constitutional violations under
   color of law against Mr. Ortega.
      An arresting officer is required to conduct a reasonable investigation to establish probable
   cause, Rankin, 133, F.3d at 1435. An officer may not “choose to ignore information that has been
   offered to him or her..[or] conduct an investigation in a biased fashion or elect not to obtain easily
   discoverable facts’.” Kingsland v City of Miami, 382, F.3d 1220 1229 (11th Cir. 2004). A “police
   officer may not close her or his eyes to facts that would help clarify the circumstances of an arrest.
   Reasonable avenues of investigation must be pursued. Especially when…it is unclear whether a
   crime has even taken place. BeVier v. Hucal, 806 F.2nd 123, 128 (7th Cir. 1986). To determine
   whether an officer had probable cause for an arrest, we examine the events leading up to the ar-
   rest…; whether an officer had probable cause depends on the events leading up to the arrest….

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   Lee v. Ferraro, 284, F.3d 1188, 1195 (11th Cir. 2002); see also District of Columbia v. Wesby,
   583 U.S.--- 138 S.Ct. 577, 199 L.Ed.2d 453 (2018); See Also Brown v. City of Huntsville, Ala.,
   608 F.3d 724, 735 (11th Cir. 2010 (citations omitted.).
      A person can resist unlawful orders in arrest and excessive force, and can’t lawfully be arrested
   for protected speech. Wright v. State, 705 So. 2d 102, 2014 (Fla. 4th DCA 1998). A person may
   resist the use of excessive force in making the arrest. State v. Holley, 480 So.2d 94, 96 (Fla.1985).
   Even verbally protesting is not probable cause for an arrest but protected speech. §843.02, Fla.
   Stat. (1993). City of Houston v. Hill, 482 U.S. 451, 107 S.Ct. 2502, 96 L.Ed.2d 398 (1987).
      Therefore, there is no reason to prevent Mr. Ortega from moving forward in his claims against
   Defendants based on the completion and adjudication of the criminal charges against Defendant
   Diaz. Both Diaz’ criminal defense counsel and civil counsel in this case were involved in arrang-
   ing the service on Diaz in the instant case. They are both well aware this case exists, the facts
   plead in this case, that’s it’s now five years later and Diaz has neither sat for the jury trial he
   demanded in his criminal case, and that they have not resolved nor attempted resolution of this
   matter with Mr. Ortega. . Plaintiff’s claims in the instant case will remain notwithstanding.


                      III.    CONCLUSION AND REQUESTED RELIEF
      Wherefore, all above premises considered, Plaintiff Mr. Ortega humbly prays this Court will
   grant his motion. Further/extending stay only serves to harm Mr. Ortega and serves no purposeful,
   permissible, nor public interest or benefit in this matter.
      Plaintiff thereby prays this Court:
      1.   Enter an Order granting this motion and immediately lifting the Stay.
      2. In the alternative, enter an Order that the Stay will not be extended again beyond May 15,
           2025, regardless of whether Diaz/ criminal case is resolved and/or adjudicated by that date.
      3. Grant any other relief necessary to effectuate Plaintiff’s intent and requests in this motion.



                                            Respectfully Submitted this 28th day of February 2025

                                                      By: /s/ Rawsi Williams
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                                     CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that a true and correct copy of the foregoing document was filed with the

   District Clerk, Florida Southern District, and served electronically on all counsel of record via the

   ECF filing system on this 28th day of February 2025.

                                                           /s/ Rawsi Williams
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